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                        IN THE UNITED STATES DISTRICT COURT
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 9                                  DISTRICT OF ARIZONA

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      Eastern Industries, LLC, a New York Case No. CV-23-0109-PHX-SMB
11    limited liability company,
12                                        AMENDED CASE MANAGEMENT
                           Plaintiff,     ORDER
13    v.
14
      EarthCo Enterprises, LLC, an Arizona
15    limited liability company; Thomas Vella
16    and Jane Doe Vella, husband and wife,
      Wesley Zlotoff and Jane Doe Zlotoff,
17    husband and wife; Dominic Riccobono and
      Jane Doe Riccobano, husband and wife,
18
      and Jack Thomas Riccobono and Jane Roe
19    Riccobono, husband and wife, Scott
      Williams and Jane Doe Williams, husband
20
      and wife,
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                           Defendants.
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24          The Court enters the following Amended Case Management Order to govern the
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     litigation in this case. Unless deadlines are specifically modified herein, the May 21,
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     2024 Case Management Order (Doc. 59) governs.
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     Case 2:23-cv-00109-SMB      Document 81         Filed 10/10/24   Page 2 of 2




 1        1. Fact Discovery. The deadline for fact discovery, including discovery by

 2           subpoena, shall be December 31, 2024.

 3        2. Dispositive Motions. Dispositive motions shall be filed no later than March

 4           31, 2025.
 5        3. The February 14, 2026 trial setting conference is reset for April 14, 2025 at
 6           9:15 a.m. (15 minutes allowed) The parties will receive dial-in information via
 7           electronic mail prior to the hearing.
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 9        Dated this 9th day of October, 2024.

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